     Case 1:24-cv-03285-SHS-OTW                    Document 7   Filed 04/30/24   Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________

 Daily News, LP, Chicago Tribune Company, LLC,
Orlando Sentinel Communications Company, LLC,
      Sun-Sentinel Company, LLC, San Jose
Mercury-News, LLC, DP Media Network, LLC, ORB
Publishing, LLC, and Northwest Publications, LLC


                                  Plaintiff(s)
                    -v-                                               RULE 7.1 STATEMENT

 Microsoft Corporation, OpenAI, Inc., OpenAI
 LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI
    OpCo, LLC, OpenAI Global, LLC, OAI
 Corporation, LLC, and OpenAI Holdings, LLC


                    Defendant(s)                                             Case Number
_____________________________


Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

Daily News, LP



(a private non-governmental party or intervenor) certifies the following:

Part I

Complete this portion in all cases.
Identify any corporate affiliates, subsidiaries, and/or parent corporation and any publicly held
corporation owning 10% or more of the stock of any non-governmental corporate party or
intervenor. If there are no such corporations, the form shall so state.


TRX Pubco, LLC
NY Daily News Enterprises, LLC
NYDN 39, LLC
NYDN-B, LLC
NYDN Holdings LLC

No publicly held corporation owns 10 percent or more of its stock.



                                                      1
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Part II

Complete this portion only if jurisdiction is based on diversity of citizenship under 28 U.S.C. §
1332(a).
Name and identify the citizenship of every individual or entity whose citizenship is attributed to
that party or intervenor for purposes of establishing jurisdiction based upon diversity of citizenship
(note: the citizenship of an L.L.C. is the citizenship of each of its members).




4/30/24
Date

                                                         /s/ Steven Lieberman
                                                           Signature of Attorney




                                                         SL8687
                                                           Attorney Bar Code




Note – This form is required to be filed when the action is filed in, or removed to, federal court,
and when any later event occurs that could affect the court’s jurisdiction under 28 U.S.C. §
1332(a).

Form Rule7_1.pdf SDNY Web 12/2022

                                                  2
